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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION


SCANNING TECHNOLOGIES
INNOVATIONS, LLC,
                                                      Case No. 4:22-cv-00372
                 Plaintiff,
                                                      PATENT CASE
         v.
                                                       JURY TRIAL DEMANDED
MOBOLUTIONS, LLC,

                 Defendant.


               MOBOLUTIONS, LLC’S ANSWER, AFFIRMATIVE DEFENSES,
                 AND COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT

         Defendant Mobolutions, LLC (“Mobolutions” or “Defendant”) files this Answer,

Affirmative Defenses, and Counterclaims to Plaintiff Scanning Technologies Innovations LLC’s

(“Plaintiff” or “Scanning Technologies”) Complaint for Patent Infringement (“Complaint”).

Mobolutions denies the allegations and characterizations in Plaintiff’s Complaint unless expressly

admitted in the following paragraphs.1
                                 PARTIES AND JURISDICTION

         1.      Mobolutions admits that the Complaint purports to set forth an action for

infringement under the Patent Laws of the United States, 35 U.S.C. § 1, et seq.

         2.      Mobolutions admits that this Court has subject matter jurisdiction over this action

pursuant to 28 U.S.C. §§ 1331 and 1338(a).

         3.      Mobolutions is without knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 3 of the Complaint and, on that basis, denies all such

allegations.



1
    For avoidance of doubt, Mobolutions denies liability for all allegations of patent infringement
      included or implied in the introductory paragraph or in any headings of the Complaint.
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          4.     Mobolutions admits that it is a Texas limited liability company, and admits that it

has a place of business at 5151 Headquarters Dr, Ste 125, Plano, TX 75024-0013 3021.

Mobolutions also admits that it may be served through its agent, and that its agent is Vijey

Rajendran, who is located at 9651 Vita Dolce Drive, Frisco, TX 75035.

          5.     Mobolutions does not contest that the Court has personal jurisdiction over it in

this case. Mobolutions admits that it conducts business in the State of Texas. Mobolutions denies

it has committed or is committing acts of infringement within this District or elsewhere and, on

that basis, denies the remaining allegations of Paragraph 5 of the Complaint.

          6.     Mobolutions admits that its accused instrumentalities are used, imported into, or

offered for sale in this District. Mobolutions denies it has committed or is committing acts of

infringement within this District or elsewhere and, on that basis, denies the remaining allegations

of Paragraph 6 of the Complaint.

                                              VENUE
          7.     Mobolutions does not contest that venue is proper in this case, but denies that

venue is convenient. Mobolutions denies it has committed or is committing acts of infringement

within this District or elsewhere and, on that basis, denies the remaining allegations of Paragraph

7 of the Complaint.

                COUNT I: [ALLEGED] INFRINGEMENT OF THE ’101 PATENT
          8.     Mobolutions incorporates paragraphs 1 through 7 herein by reference.

          9.     Mobolutions admits that the Complaint purports to set forth an action for

infringement under the Patent Laws of the United States, in particular, under 35 U.S.C. §§ 271,

et seq.

          10.    Mobolutions is without knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 10 of the Complaint.

          11.    Mobolutions admits that a purported copy of U.S. Patent No. 10,600,101 (the

“’101 Patent”) is attached to the Complaint as Exhibit A and that the face of that patent indicates
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that it is entitled “Systems and Methods for Indicating the Existence of Accessible Information

Pertaining to Articles of Commerce.”

         12.   Mobolutions denies the ’101 Patent is valid and enforceable. Mobolutions is

without knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in Paragraph 12 of the Complaint and, on that basis, denies all such allegations.

         13.   Mobolutions denies the allegations in Paragraph 13 of the Complaint.

         14.   Mobolutions denies the allegations in Paragraph 14 of the Complaint.

         15.   Mobolutions denies the allegations in Paragraph 15 of the Complaint.

         16.   Mobolutions denies the allegations in Paragraph 16 of the Complaint.

         17.   Mobolutions denies the allegations in Paragraph 17 of the Complaint.

         18.   Mobolutions denies the allegations in Paragraph 18 of the Complaint.

         19.   Mobolutions denies the allegations in Paragraph 19 of the Complaint.

         20.   Mobolutions denies the allegations in Paragraph 20 of the Complaint.

         21.   Mobolutions denies the allegations in Paragraph 21 of the Complaint.

         22.   Mobolutions denies the allegations in Paragraph 22 of the Complaint.

         23.   Mobolutions denies the allegations in Paragraph 23 of the Complaint.

         24.   Mobolutions denies the allegations in Paragraph 24 of the Complaint.

         25.   Mobolutions denies the allegations in Paragraph 25 of the Complaint.

         26.   Mobolutions is without knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 26 of the Complaint and, on that basis, denies all such

allegations.

                       [PLAINTIFF’S] DEMAND FOR JURY TRIAL
         27.   Mobolutions is not required to provide a response to Plaintiff’s demand for a jury

trial.
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                             [PLAINTIFF’S] PRAYER FOR RELIEF
          Mobolutions denies the Plaintiff is entitled to any relief from Mobolutions and denies all

the allegations contained in Paragraphs (a)-(e) (including any subparts) of Plaintiff’s Prayer for

Relief.

                                   AFFIRMATIVE DEFENSES
          Mobolutions’s Affirmative Defenses are listed below. Mobolutions reserves the right to

amend its answer to add additional Affirmative Defenses consistent with the facts discovered in

this case.

                                FIRST AFFIRMATIVE DEFENSE
          Mobolutions has not infringed and does not infringe, under any theory of infringement

(including directly (whether individually or jointly) or indirectly (whether contributorily or by

inducement)), any valid, enforceable claim of the ’101 Patent.

                              SECOND AFFIRMATIVE DEFENSE
          Each asserted claim of the ’101 Patent is invalid for failure to comply with one or more of

the requirements of the United States Code, Title 35, including without limitation, 35 U.S.C. §§

101, 102, 103, and 112, and the rules, regulations, and laws pertaining thereto.

                                THIRD AFFIRMATIVE DEFENSE
          To the extent that Plaintiff and any predecessors in interest to the ’101 Patent failed to
properly mark any of their relevant products or materials as required by 35 U.S.C. § 287, or

otherwise give proper notice that Mobolutions’s actions allegedly infringe the ’101 Patent,

Mobolutions is not liable to Plaintiff for the acts alleged to have been performed before

Mobolutions received actual notice that it was allegedly infringing the ’101 Patent.

                              FOURTH AFFIRMATIVE DEFENSE
          To the extent that Plaintiff asserts that Mobolutions indirectly infringes, either by

contributory infringement or inducement of infringement, Mobolutions is not liable to Plaintiff for

the acts alleged to have been performed before Mobolutions knew that its actions would cause

indirect infringement.
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                              FIFTH AFFIRMATIVE DEFENSE
       The claims of the ’101 Patent are not entitled to a scope sufficient to encompass any system

employed or process practiced by Mobolutions.

                              SIXTH AFFIRMATIVE DEFENSE
       To the extent Plaintiff contends that it alleges a claim for indirect infringement (whether

by inducement or contributorily), Plaintiff has failed to state a claim upon which relief can be

granted.

                            SEVENTH AFFIRMATIVE DEFENSE
       Plaintiff’s Complaint fails to state a claim upon which relief can be granted because the

’101 Patent does not claim patent eligible subject matter under 35 U.S.C. § 101.

                             EIGHTH AFFIRMATIVE DEFENSE
       Plaintiff’s Complaint fails to state a claim upon which relief can be granted because, among

other things, Plaintiff has not stated a plausible allegation that any system employed or process

practiced by Mobolutions comprises: “a mobile device comprising a portable handheld housing

and a communication interface configured to enable the mobile device to communicate with a

communication network, the mobile device further comprising a signal processing device and a

visual input device, the visual input device affixed within the portable handheld housing”; “digital

files associated with the mobile device”; “a server in communication with the communication
network, the server comprising a server database configured to store a look-up table that includes

at least a plurality of bar codes associated with a plurality of articles of commerce, the look-up

table also storing a plurality of information link indicators, each information link indicator

associated with a respective bar code and article of commerce, and each information link indicator

being configured as a status signal indicating the existence or absence of a link to information

pertaining to a respective article of commerce, the link being made to the information via the

communication network”; and “wherein the visual input device is configured to scan an image of

an article of commerce, decode the image to obtain a bar code and forward data from the scanned

image to the signal processing device”; and “wherein, in response to receiving the bar code, the
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signal processing device is configured to look up the bar code in the look-up table to determine

from a respective information link indicator whether or not a link exists for accessing information

pertaining to an article of commerce associated with the bar code via the communication network”;

as required by Claim 1 of the ’101 Patent.

                                NINTH AFFIRMATIVE DEFENSE
          Plaintiff is estopped, based on statements, representations, and admissions made during

prosecution of the patent application resulting in the asserted patent, from asserting any

interpretation of any valid, enforceable claims of the ’101 Patent that would be broad enough to

cover any accused product alleged to infringe the asserted patent, either literally or by application

of the doctrine of equivalents.

                                TENTH AFFIRMATIVE DEFENSE
          Plaintiff’s claims for damages are statutorily limited or barred by 35 U.S.C. §§ 286 and

287. Plaintiff is further barred under 35 U.S.C. § 288 from recovering costs associated with its

action.

                             ELEVENTH AFFIRMATIVE DEFENSE
          Plaintiff is precluded from recovering its reasonable attorney’s fees, costs, and or increased

damages under 35 U.S.C. §§ 284 or 285.

                              TWELFTH AFFIRMATIVE DEFENSE
          Should Mobolutions be found to infringe any valid, enforceable claim of the ’101 Patent,

such infringement was not willful.

                             MOBOLUTIONS’S COUNTERCLAIMS
          For its counterclaims against Plaintiff Scanning Technologies Licensing LLC (“Scanning

Technologies”), Counterclaim Plaintiff Mobolutions, LLC (“Mobolutions”), alleges as follows:

                                               PARTIES

          1.       Counterclaim Plaintiff Mobolutions is an entity organized and existing under the
laws of Texas. Mobolutions has a place of business at 9651 Vita Dolce Drive, Frisco, Texas

75035
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       2.        Upon information and belief based solely on Paragraph 3 of the Complaint as
pled by Plaintiff, Counterclaim Defendant Scanning Technologies Licensing LLC is a

corporation organized and existing under the laws of Texas that maintains its principal place of

business at 1 East Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.

                                         JURISDICTION

       3.        Mobolutions incorporates by reference Paragraphs 1–2 above.

       4.        These counterclaims arise under the patent laws of the United States, Title 35,
United States Code. The jurisdiction of this Court is proper under at least 35 U.S.C. § 271 et seq.,

and 28 U.S.C. §§ 1331, 1338, 1367, and 2201–02.

       5.        Scanning Technologies has consented to the personal jurisdiction of this Court at
least by commencing its action for patent infringement in this District, as set forth in its

Complaint.

       6.        Based solely on Scanning Technologies’ filing of this action, venue is proper for
purposes of these counterclaims in this District pursuant at least 28 U.S.C. §§ 1391 and 1400.

                                             COUNT I

     DECLARATION REGARDING NON-INFRINGEMENT OF THE ’101 PATENT

       7.        Mobolutions incorporates by reference Paragraphs 1–6 above.

       8.        Based on Scanning Technologies’ filing of this action and at least Mobolutions’s
first affirmative defense, an actual controversy has arisen and now exists between the parties as

to whether Mobolutions infringes U.S. Patent No. 10,600,101 (the “’101 Patent”).

       9.        Mobolutions does not infringe at least Claim 1 of the ’101 Patent because, inter
 alia, the accused system does not comprise: “a mobile device comprising a portable handheld

 housing and a communication interface configured to enable the mobile device to communicate

 with a communication network, the mobile device further comprising a signal processing

 device and a visual input device, the visual input device affixed within the portable handheld

 housing”; “digital files associated with the mobile device”; “a server in communication with the

 communication network, the server comprising a server database configured to store a look-up
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 table that includes at least a plurality of bar codes associated with a plurality of articles of

 commerce, the look-up table also storing a plurality of information link indicators, each

 information link indicator associated with a respective bar code and article of commerce, and

 each information link indicator being configured as a status signal indicating the existence or

 absence of a link to information pertaining to a respective article of commerce, the link being

 made to the information via the communication network”; and “wherein the visual input device

 is configured to scan an image of an article of commerce, decode the image to obtain a bar code

 and forward data from the scanned image to the signal processing device”; and “wherein, in

 response to receiving the bar code, the signal processing device is configured to look up the bar

 code in the look-up table to determine from a respective information link indicator whether or

 not a link exists for accessing information pertaining to an article of commerce associated with

 the bar code via the communication network.”

       10.       Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,
Mobolutions requests a declaration by the Court that Mobolutions has not infringed and does not

infringe any claim of the ’101 Patent under any theory (including directly (whether individually

or jointly) or indirectly (whether contributorily or by inducement).

                                             COUNT II

                        DECLARATION REGARDING INVALIDITY

       11.       Mobolutions incorporates by reference Paragraphs 1–10 above.

       12.       Based on Scanning Technologies’ filing of this action and at least Mobolutions’s
Second Affirmative Defense, an actual controversy has arisen and now exists between the parties

as to the validity of the claims of the ’101 Patent.

       13.       The asserted claims of the ’101 Patent are anticipated and/or rendered obvious
by, inter alia, U.S. Patent No. 8,489,598 and U.S. Patent No. 8,457,449.

       14.       Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,
Mobolutions requests a declaration by the Court that the claims of the ’101 Patent are invalid for

failure to comply with one or more of the requirements of United States Code, Title 35, including
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without limitation, 35 U.S.C. §§ 101, 102, 103, and 112, and the rules, regulations, and laws

pertaining thereto.

                                     PRAYER FOR RELIEF
       WHEREFORE, Mobolutions asks this Court to enter judgment in Mobolutions’s favor and

against Scanning Technologies by granting the following relief:

       a)        a declaration that the ’101 Patent is invalid;

       b)        a declaration that Mobolutions does not infringe, under any theory, any valid
claim of the ’101 Patent that may be enforceable;

       c)        a declaration that Scanning Technologies take nothing by its Complaint;

       d)        judgment against Scanning Technologies and in favor of Mobolutions;

       e)        dismissal of the Complaint with prejudice;

       f)        a finding that this case is an exceptional case under 35 U.S.C. § 285 and an
award to Mobolutions of its costs and attorneys’ fees incurred in this action; and

       g)        further relief as the Court may deem just and proper.
                                         JURY DEMAND
       Mobolutions hereby demands trial by jury on all issues.
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        Dated: June 7, 2022                             Respectfully submitted,

                                                        FISH & RICHARDSON P.C.

                                                        By: /s/ Neil J. McNabnay
                                                        Neil J. McNabnay
                                                        mcnabnay@fr.com
                                                        Ricardo J. Bonilla
                                                        rbonilla@fr.com
                                                        Noel Chakkalakal
                                                        chakkalakal@fr.com

                                                        FISH & RICHARDSON P.C.
                                                        1717 Main Street, Suite 5000
                                                        Dallas, Texas 75201
                                                        (214) 747-5070 - Telephone
                                                        (214) 747-2091 - Facsimile




                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing document has

been served on all counsel of record via the Court’s ECF system on June 7, 2022.



                                                              /s/ Neil J. McNabnay
                                                              Neil J. McNabnay
